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                                                                                November 2, 2022

                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT                           By:        MR
                            WESTERN DISTRICT OF TEXAS                                              Deputy
                               SAN  Antonio DIVISION
                                SanANTONIO
                                                     Case No:                    SA:22-CR-00579-XR

 UNITED STATES OF AMERICA

        Plaintiff

               v
                                                    INDICTMENT
 MOISES JAEKOB VARGAS
                                                    18 USC       2252A(a)(5)(B) Possession of Child Pornograph
        Defendant



THE GRAND JURY CHARGES:

                                        COUNT ONE
                                 [18 U.S.C. ' 2252A(a)(5)(B)]

                                                                            Defendant,

                                 MOISES JAEKOB VARGAS,

did knowingly possess material, specifically, an Apple iPhone, that contains an image of child

pornography, as defined in Title 18, United States Code, Section 2256(8)(A), that involved a

prepubescent minor and a minor under the age of 12 years, that had been shipped and transported

using any means and facility of interstate and foreign commerce, and shipped and transported in

and affecting interstate and foreign commerce, and was produced using materials that had been

mailed, shipped and transported in and affecting interstate and foreign commerce, including by

computer,

   All in violation of Title 18, United States Code, Section 2252A(a)(5)(B) and (b).

    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                             I.
             Sexual Exploitation of Children Violations and Forfeiture Statutes
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 As a result of the foregoing Sexual Exploitation of Children violations, the United States of

 America gives notice to defendant, MOISES JAEKOB VARGAS, of its intent to seek the

forfeiture of certain property subject to forfeiture upon conviction, including but not limited to

computer(s), electronic equipment, accessories, and devices, and pursuant to Fed. R. Crim. P.

               32.2 and Title 18 U.S.C. § 2253(a)(1), (2), and (3), which states:

      Title 18 U.S.C. § 2253. Criminal forfeiture
              (a) Property subject to criminal forfeiture-A person who is convicted of
              an offense under this chapter involving a visual depiction described in
              section 2251, 2251A, 2252, 2252A, or 2260 of this chapter or who is
              convicted of an offense under section 2251B of this chapter, or who is
              convicted of an offense under chapter 109A, shall forfeit to the United
              States such person’s interest in-

                     (1) any visual depiction described in section 2251, 2251A, 2252,
                     2252A, or 2260 of this chapter, or any book, magazine, periodical,
                     film, videotape, or other matter which contains any such visual
                     depiction, which was produced, transported, mailed, shipped or
                     received in violation of this chapter;
                     (2) any property, real or personal, constituting or traceable to gross
                     profits or other proceeds obtained from such offense; and
                     (3) any property, real or personal, used or intended to be used to
                     commit or to promote the commission of such offense or any
                     property traceable to such property.




      ASHLEY C. HOFF
      United States Attorney



By:
           Tracy THOMPSON
      FOR TRACY     Thompson
      Assistant United States Attorney




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